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                    UNITED STATES BANKRUPTCY COURT
                          DISTRICT OF MINNESOTA
______________________________________________________________________________
In re:                                                       BKY No. 15-42460
                                                                Chapter 7 Case
Paul Hansmeier,

               Debtor.


              NOTICE OF HEARING AND MOTION FOR APPROVAL OF SETTLEMENT


TO:    Parties specified in Local Rule 9013-3
       1.      Randall L. Seaver, the Chapter 7 trustee (“Trustee”) herein, moves the court for
the relief request below and gives notice of hearing herewith.
       2.      The Court will hold a hearing on this motion at 3:00 p.m. on December 6, 2017 in
Courtroom 8W, U.S. Bankruptcy Court, 300 South Fourth Street, Minneapolis, MN 55415.
       3.       Any response to this motion must be filed and served by delivery not later than
December 1, 2017 which is five days before the time set for the hearing (including Saturdays,
Sundays and holidays). UNLESS A RESPONSE OPPOSING THE MOTION IS TIMELY
FILED, THE COURT MAY GRANT THE MOTION WITHOUT A HEARING.
       4.      This Court has jurisdiction over this Motion under 28 U.S.C. § 157 and § 1334
and Bankruptcy Rule 5005 and Local Rule 1070.1. This motion arises under Bankruptcy Rules
9013 and 9019 and Local Rules 6004-1 and 9019-1.
       5.      The trustee files this motion seeking the approval of a settlement agreement
between the Trustee, debtor and United States Trustee.
       6.      The terms of the settlement are summarized below, and set forth fully in Exhibit
A filed herewith and fully incorporated into this motion.
                                   SETTLEMENT AGREEMENT
       7.      The Trustee, United States Trustee and Paul Hansmeier (“Debtor”) are currently
engaged in the following adversary proceedings which are impacted by the proposed settlement:
            a. Adversary No. 16-4124: The Trustee commenced Adversary Proceeding No. 16-
               4124, seeking recovery against Sandipan Chowdhury and Booth Sweet, LLP on
               claims of unjust enrichment and restitution (the “Recovery Claims”). Plaintiff
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                was awarded judgment by default, which has now been reversed and remanded by
                the U.S. District Court and the case is pending before the Bankruptcy Court;

             b. Adversary No. 17-4114: The Debtor commenced Adversary Proceeding No. 17-
                4114 against the Trustee seeking a determination of what portion of the Recovery
                Claims are property of the bankruptcy estate and non-exempt property of the
                Debtor. The case is currently pending before the Bankruptcy Court; and

             c. Adversary No. 16-4035: The United States Trustee filed Adv. No. 16-4035
                seeking denial of the debtor’s discharge. The matter is currently pending before
                the Bankruptcy Court.

       8.       The proposed settlement will resolve Adversary Nos. 17-4114 and 16-4035.
       9.       As part of the settlement of Adversary No. 17-4114, the trustee seeks approval to
transfer the bankruptcy estate’s interest in the Recovery Claims to the Debtor, with the
bankruptcy estate retaining a security interest in the funds recovered on the claims. See Exhibit
A at ¶3.
       10.      As part of the settlement agreement, the Debtor has agreed to waive his discharge.
       11.      As consideration for the agreement, the Trustee has entered into settlement with
the general unsecured non-priority creditors in the bankruptcy case to allow for payments to the
creditors in full resolution of their claims against the debtor and bankruptcy estate. Those
settlement agreements have been approved by the Bankruptcy Court.
       12.      As consideration for the agreement, the Debtor has agreed to waive any objection
the Trustee’s final report and any applications for compensation of professionals or
administrative fees and reimbursement of expenses.
       13.      All other terms of the settlement are set forth fully in the attached Exhibit A.
       14.      Pursuant to Local Rule 9013-2, the Trustee hereby gives notice that he may
appear and testify as a witness in support of his motion and provide testimony concerning the
agreement between the parties. The Trustee’s address is provided in the signature block below.
       WHEREFORE, the trustee requests an order from the court providing as follows:
       1.       Approving the settlement agreement between the trustee, the debtor and United
States Trustee, as summarized herein and fully set forth in the attached Exhibit A.
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       2.      Authorizing the Trustee to execute any documents necessary to effectuate the
terms and agreements set forth in the settlement agreement.
       3.      Any other and further relief deemed appropriate by the Court.

                                             FULLER, SEAVER, SWANSON & KELSCH, P.A.


Dated: November 15, 2017                      /e/ Matthew D. Swanson
                                             Randall L. Seaver                   152882
                                             Matthew D. Swanson                  390271
                                             12400 Portland Avenue South, Suite 132
                                             Burnsville, MN 55337
                                             (952) 890-0888
                                             mswanson@fssklaw.com



                                       VERIFICATION

       I, Randall L. Seaver, the duly appointed Chapter 7 trustee of this Bankruptcy Estate, the
moving party named in the foregoing notice of hearing and motion, declare under penalty of
perjury that the foregoing is true and correct according to the best of my knowledge, information
and belief.

Executed on November 15, 2017                        /e/ Randall L. Seaver
                                                    Randall L. Seaver
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WHEREAS, on or about October 15, 2014, the Chowdhury Judgment was registered in the
Hennepin County District Court, Court File No. 27-CV-14-15391, on October 17, 2014 the
Chowdhury Judgment was memorialized on the certificate of title for the debtor’s homestead
located at 100 Third Avenue South, Unit #3201, Minneapolis, Minnesota (the “Homestead”);

WHEREAS, following the filing of the Debtor’s petition for relief, Debtor’s counsel filed a motion
to sell the Homestead, the motion was approved by the Bankruptcy Court on December 3, 2015;

WHEREAS, at closing of the Homestead sale, Chowdhury and the law firm representing him, Booth
Sweet, LLP, received $71,620.90 on account of the Chowdhury Judgment;

WHEREAS, on August 4, 2016, the United States Court of Appeals for the First Circuit, vacated the
Chowdhury Judgment and remanded the matter back to the United States District Court for the
District of Massachusetts, due to the fact that the Debtor was not named as a party in the matter and
not properly served;

WHEREAS, on November 18, 2016, the Trustee commenced adversary no. 16-4124 (“Adv. No.
16-4124”), seeking a judgment against Sandipan Chowdhury and Booth Sweet, LLP on account of
the vacated judgment and the post-petition payment received by Chowdhury and Booth Sweet,
LLP on account of the Chowdhury Judgment;

WHEREAS, the Estate’s claims against Sandipan Chowdhury, Booth Sweet, LLP, Dan Booth and
Jason Sweet, relating to the post-petition payment of monies on account of the Chowdhury
Judgment will hereinafter be referred to collectively as the “Recovery Claims”;

WHEREAS, on January 10, 2017 the Bankruptcy Court granted the Trustee’s application for default
judgment in Adv. No. 16-4124 and entered judgment against Sandipan Chowdhury and Booth
Sweet, LLP in favor of the Estate on its claims for 1) restitution; and 2) unjust enrichment;

WHEREAS, Chowdhury and Booth Sweet, LLP filed a motion to vacate the entry of default
judgment which was denied by the Bankruptcy Court;

WHEREAS, Chowdhury and Booth Sweet, LLP, appealed the matter to the United States District
Court for the District of Minnesota, and on November 8, 2017, the United Stated District Court for
the District of Minnesota reversed the Bankruptcy Court’s January 10, 2017 entry of default
judgment and remanded the matter to the Bankruptcy Court for further findings as to defendants
ability to meet the “good cause” standard of Fed. R. Civ. P. 55(c);

WHEREAS, the Trustee believes the Recovery Claims are the final assets of the Estate to be
administered;

Declaratory Adversary 17-4114

WHEREAS, on September 18, 2017, the Debtor commenced adversary no. 17-4114 (“Adv. No.
17-4114”) seeking declaratory relief to determine what portion of the claim underlying the

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Chowdhury Judgment is Estate property;

WHEREAS, the Debtor’s position is that claim supporting the Chowdhury Judgment is either
exempt property of the Debtor, or is a post-petition asset of the Debtor;

WHEREAS, the Trustee contests the Debtor’s position and maintains that the claim underlying the
Chowdhury Judgment is non-exempt property of the Estate;

WHEREAS, the Trustee’s time to file an Answer in Adv. No. 17-4114 has not expired, therefore no
scheduling order has been issued by the Bankruptcy Court;

Discharge Adversary 16-4035

WHEREAS, on March 24, 2016 the UST commenced adversary case no. 16-04035 (“Adv. No.
16-4035”) seeking to deny the Debtor’s discharge pursuant to 11 U.S.C. § 727 (a)(2)(A), (a)(2)(B),
(a)(3), (a)(4)(A) and (a)(5);

WHEREAS, on April 25, 2016 the Debtor filed an Answer in Adv. No. 16-4035, denying any
wrongdoing;

Claims Against Debtor’s Estate

WHEREAS, the Trustee is currently holding approximately $100,000 in the Estate;

WHEREAS, the total amount of administrative claims in the bankruptcy case, including statutory
trustee compensation and attorneys fees, exceed $150,000;

WHEREAS, the total amount of general unsecured non-priority claims against the Estate is
approximately $57,000.00, after accounting for payments to secured creditors, claim withdrawals
and the denial of claims following objections by the trustee;

WHEREAS, contingent upon the approval of this Agreement, the Trustee has entered into
settlements with the general unsecured non-priority creditors, with claims pending in this case,
which will result in full satisfaction of their claims and a complete release of their claims against
the Debtor;

NOW, THEREFORE, subject to Bankruptcy Court approval the parties hereto agree to settle Adv.
No. 17-4114, Adv. No. 16-4035, disputes as to administrative claims, and other matters relating to
the administration of the Estate on the following terms:

        1.      Incorporation of Definitions. The Parties incorporate the definitions set forth in
the recitals.

      2.       Contingent Nature of Agreement. This Agreement is subject to Bankruptcy Court
approval, and each of the settlement terms described in Paragraphs 3, 4, 5 and 6 below constitute a

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global settlement which is contingent upon the approval of each of the terms described below, as
well as the related settlements described herein, in addition to the performance required herein of
the other parties to this Agreement.

      3.      Recovery Claims. The Debtor and Trustee have agreed to resolve Adversary No.
17-4114 and the parties’ interest in the Recovery Claims, and any other claim against Chowdhury
and Booth Sweet, LLP relating to the post-petition payment on account of the Chowdhury
Judgment, on the following terms:
          a. Pending approval, or disapproval, of this Agreement, the Debtor shall execute a 60
              day extension to the Trustee’s deadline to file an answer in Adv. No. 17-4114;
          b. The Trustee shall assign to Paul Hansmeier the Estate’s interest in the Recovery
              Claims, and any related claims against Chowdhury, Booth Sweet, LLP, Dan Booth
              and Jason Sweet, arising out of the post-petition payment on account of the
              Chowdhury Judgment;
          c. in consideration of the assignment of the Estate’s interest in the Recovery Claims,
              the Estate shall be entitled to receive, and is hereby granted a security interest in,
              the Recovery Claims, and related claims against Chowdhury and Booth Sweet,
              LLP, as described herein, and any funds recovered on account of those claims, as
              follows:
                          i. The Estate shall be entitled to the first $25,000 recovered from the
                               Recovery Claims and related underlying claims;
                          ii. Paul Hansmeier shall be entitled to the second $25,000.00 recovered
                               from the Recovery Claims and any underlying claims; and
                          iii. in the event over $50,000 is recovered on account of the Recovery
                               Claims, the Estate and Debtor shall split those proceeds, which
                               exceed $50,000, equally.
          d. the parties release any claims to the proceeds not payable to them pursuant to
              Paragraph 3c above;
          e. upon approval of this Agreement, the Debtor agrees to dismiss Adv. No. 17-4114,
              with prejudice and without an award of costs;
          f. the parties agree to cooperate in the drafting and execution of any additional
              documents necessary to effectuate the settlement described herein, including but
              not limited to the drafting and execution of assignment and security documents.

        4.    Discharge Adversary. As consideration for this Agreement between the parties
hereto the Debtor agrees to waive his discharge. The waiver of discharge shall be accomplished
as follows:
            a. Within 5 days of entry of the Order approving this Agreement, and the settlements
                described in Paragraph 5 below, the Debtor agrees to execute a waiver of
                discharge;
            b. Within 5 days of entry of the Order approving this settlement, and the settlements
                described in Paragraph 5 below, the Debtor agrees to file and serve a motion
                seeking approval of the Debtor’s waiver of his discharge; the hearing is to be held
                on the closest date available with the court which allows sufficient notice under
                applicable rules of bankruptcy procedure;

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            c. the Debtor agrees to appear at the hearing scheduled to seek approval of his waiver
               of discharge described in Paragraph 4b above; and
            d. upon the Bankruptcy Court’s approval of the Debtor’s waiver of discharge, the
               UST and Debtor agree to stipulate to dismissal of the adversary complaint.

        5.       Claims Against Debtor. As consideration for this Agreement, the Trustee has
entered into, or will enter into, settlements with the general unsecured creditors which have filed
claims against the Estate. The Trustee’s agreements with the general unsecured non-priority
creditors will be settlements which provide that the Estate will make partial payments to the
creditors in full satisfaction of their claims against the Estate and against the Debtor. The Trustee
shall promptly file notices or motion documents to obtain Bankruptcy Court approval of his
settlements with the general unsecured non-priority creditors.

        6.     Waiver of Objections. As consideration for this Agreement, the Debtor agrees to
release any objection he has to: a) the Trustee’s final report; b) any application for compensation of
professionals or administrative fees; and any application for reimbursement of expenses. This
release by the Debtor is conditioned on any application or final report being consistent with the
terms and consideration set forth in this Agreement.

        7.     Bankruptcy Court Approval. In the event that this Agreement is not approved by
the Bankruptcy Court, nothing contained herein shall constitute an admission by any party hereto,
nor shall anything contained herein constitute a waiver of any claims or issues by any of the parties
hereto.

        8.     Complete Agreement. This Agreement constitutes the whole and complete
agreement between the parties. No modifications of the terms of this Agreement shall be
effective unless made in writing and signed by the party against whom such modification should
run. This Agreement supersedes all prior agreements and understandings between the parties.

        9.      Choice of Law. This Agreement shall be governed and interpreted in accordance
with the laws of the State of Minnesota without reference to principles of conflicts of law except to
the extent that Federal Bankruptcy law preempts Minnesota State law.

       10.      Counterparts. This Agreement may be executed in counterparts, but shall be
construed as if signed in one document.

        11.     Representations. Each party hereto covenants and warrants that they have
carefully read the foregoing Agreement and the contents thereof, that they are duly authorized to
execute this Agreement and that they have signed the same of their own free act and deed, having
been advised by counsel as to the provisions contained herein.

       12.      Legal Advice. Each party received independent legal advice from its attorneys
with respect to the advisability of making this settlement provided for herein and with respect to
the advisability of making the Agreement.


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        13.     Drafting. The parties to this Agreement have jointly participated in the drafting of
this Agreement and therefore if there should be any dispute as to the meaning of any part of this
Agreement, the parties hereto agree that all of the parties hereto shall be considered to have drafted
such language so that the court does not construe or interpret the language against any of the
parties hereto.

       14.    No Duress. Each party acknowledges that such party has read this Agreement and
understands the contents hereof.

       15.    Further Cooperation. Each party shall execute all further additional documents
which are reasonably necessary to carry out the provisions of this Agreement.

        16.     Binding Effect. This Agreement is binding upon and shall inure to the benefit of
the parties hereto, their respective assigns, heirs and successors-in-interest.

          IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be duly
signed.


Dated: _________________, 2017                    By:_________________________________
                                                     Matthew D. Swanson            0390271
                                                     Fuller, Seaver, Swanson & Kelsch, P.A.
                                                     12400 Portland Avenue South, Suite 132
                                                     Burnsville, MN 55337

                                                      Attorney for the Trustee, Randall L. Seaver



Dated: ________________, 2017                      By: ________________________________
                                                      Colin Kreuziger                     386834
                                                      Trial Attorney
                                                      United States Department of Justice
                                                      Office of the United States Trustee
                                                      Region 12
                                                      1015 U.S. Courthouse
                                                      300 S 4th Street
                                                      Minneapolis, MN 55415

                                                      Attorney for the United States Trustee



Dated:_________________, 2017                      By:_________________________________
                                                      Paul Hansmeier 

                                                  6
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                                   UNITED STATES BANKRUPTCY COURT
                                         DISTRICT OF MINNESOTA

IN RE: PAUL R HANSMEIER                                         CASE NO: 15-42460
                                                                DECLARATION OF MAILING
                                                                CERTIFICATE OF SERVICE
                                                                Chapter: 7
                                                                ECF Docket Reference No.
                                                                Judge: Kathleen Sanberg
                                                                Hearing Location: Courtroom 8 West
                                                                Hearing Date: December 6, 2017
                                                                Hearing Time: 3:00 p.m.
                                                                Response Date: December 1, 2017


On 11/15/2017, I did cause a copy of the following documents, described below,
Motion to Approve Settlement,




to be served for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with
sufficient postage thereon to the parties listed on the mailing matrix exhibit, a copy of which is attached hereto and
incorporated as if fully set forth herein.
I caused these documents to be served by utilizing the services of BK Attorney Services, LLC d/b/a certificateofservice.com,
an Approved Bankruptcy Notice Provider authorized by the United States Courts Administrative Office, pursuant to Fed.R.
Bankr.P. 9001(9) and 2002(g)(4). A copy of the declaration of service is attached hereto and incorporated as if fully set forth
herein.

Parties who are participants in the Courts Electronic Noticing System ("NEF"), if any, were denoted as having been served
electronically witih the documents described herein per the ECF/PACER system.
DATED: 11/15/2017




                                                                   /s/ Matthew D. Swanson
                                                                   Matthew D. Swanson 390271
                                                                   Fuller, Seaver, Swanson & Kelsch, P.A.
                                                                   12400 Portland Ave. S., Suite 132
                                                                   Burnsville, MN 55337
                                                                   952 890 0888
                                                                   mswanson@fssklaw.com
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                                         UNITED STATES BANKRUPTCY COURT
                                               DISTRICT OF MINNESOTA

 IN RE: PAUL R HANSMEIER                                                  CASE NO: 15-42460

                                                                          CERTIFICATE OF SERVICE
                                                                          DECLARATION OF MAILING
                                                                          Chapter: 7
                                                                          ECF Docket Reference No.
                                                                          Judge: Kathleen Sanberg
                                                                          Hearing Location: Courtroom 8 West
                                                                          Hearing Date: December 6, 2017
                                                                          Hearing Time: 3:00 p.m.
                                                                          Response Date: December 1, 2017

On 11/15/2017, a copy of the following documents, described below,

Motion to Approve Settlement,




were deposited for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with sufficient
postage thereon to the parties listed on the mailing matrix exhibit, a copy of which is attached hereto and incorporated as if fully set forth
herein.

The undersigned does hereby declare under penalty of perjury of the laws of the United States that I have served the above referenced
document(s) on the mailing list attached hereto in the manner shown and prepared the Declaration of Certificate of Service and that it is
true and correct to the best of my knowledge, information, and belief.

DATED: 11/15/2017




                                                                             Jay S. Jump
                                                                             BK Attorney Services, LLC
                                                                             d/b/a certificateofservice.com, for
                                                                             Fuller, Seaver, Swanson & Kelsch, P.A.
                                                                             Matthew D. Swanson
                                                                             12400 Portland Ave. S., Suite 132
                                                                             Burnsville, MN 55337
            Case 15-42460
PARTIES DESIGNATED              Doc NOT
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                                            Filed
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                                                               CLASS MAIL11/15/17 11:39:24     Desc Main
PARTIES WITH A '+' AND DESIGNATED AS "CM/ECF E-SERVICE" RECEIVED ELECTRONIC NOTICE THROUGH THE CM/ECF SYSTEM
                                            Document       Page 12 of 14
CASE INFO
1 LABEL MATRIX FOR LOCAL NOTICING        2 BEST FLANAGAN LLP PAUL GODFREAD        3 FULLER SEAVER SWANSON KELSCH
08644                                    PHILLIP                                  12400 PORTLAND AVENUE SOUTH STE 132
CASE 15-42460                            CO EDWARD P SHEU                         BURNSVILLE MN 55337-6805
DISTRICT OF MINNESOTA                    60 SOUTH SIXTH STREET SUITE 2700
MINNEAPOLIS                              MINNEAPOLIS MN 55402-4452
WED NOV 15 10-34-44 CST 2017


EXCLUDE
4 MINNEAPOLIS                            5 900 SECOND AVE S LLC                   6 ALPHA LAW FIRM
301 US COURTHOUSE                        900 2ND AVENUE SOUTH                     80 S 8TH ST
300 SOUTH FOURTH STREET                  MINNEAPOLIS MN 55402-3314                MINNEAPOLIS MN 55402-2100
MINNEAPOLIS MN 55415-1320




7 AMERICAN EXPRESS                       8 ANTHONY SMITH                          9 ALAN COOPER
CUSTOMER SERVICE                         CO BOOTH SWEET LLP                       CO BOOTH SWEET LLP
BILLING INQUIRIES                        32R ESSEX ST STUDIO 1A                   32R ESSEX STREET
PO BOX 981535                            CAMBRIDGE MA 02139-2646                  CAMBRIDGE MA 02139-2646
EL PASO TX 79998-1535




10 ALAN COOPER                           11 AMERICAN EXPRESS BANK FSB             12 BEST FLANAGAN LLP
CO GODFREAD LAW FIRM PC                  CO BECKET AND LEE LLP                    ATTN EDWARD P SHEU
6043 HUDSON ROAD SUITE 305               POB 3001                                 60 SOUTH SIXTH STREET SUITE 2700
WOODBURY MN 55125-1035                   MALVERN PA 19355-0701                    MINNEAPOLIS MN 55402-4690




13 CERTAIN JOHN DOES                     14 EDWARD SHEU                           15 EDWARD P SHEU
ST CLAIR COUNTY IL                       BEST AND FLANAGAN                        BEST FLANAGAN LLP
CASE NO 12-MR-417                        225 SOUTH 6TH ST SUITE 4000              60 SOUTH SIXTH STREET
CO ERIN RUSSELL                          MPLS MN 55402-4625                       SUITE 2700
230 W SUPERIOR STREET SUITE 200                                                   MINNEAPOLIS MN 55402-4690
CHICAGO IL 60654-3581




16 GODFREAD LAW FIRM PC                  17 ILLINOIS DEPARTMENT OF REVENUE        18 INTERNAL REVENUE SERVICE
CO BEST FLANAGAN LLP                     SPRINGFIELD IL 62179                     INSOLVENCY SECTION
60 SOUTH SIXTH STREET                                                             PO BOX 7346
SUITE 2700                                                                        PHILADELPHIA PA 19101-7346
MINNEAPOLIS MN 55402-4452




19 ILLINOIS DEPARTMENT OF REVENUE        20 JOHN DOE                              21 JOHN STEELE
BANKRUPTCY SE                            CO THE PIETZ LAW FIRM                    500 MICHIGAN AVE
PO BOX 64338                             8605 SANTA MONICA BLVD                   SUITE 600
CHICAGO IL 60664-0338                    NO 69018                                 CHICAGO IL 60611-3754
                                         LOS ANGELES CA 90069-4109




22 MARK LUTZ                             23 MICHAEL DUGAS                         24 PADRAIGIN BROWNE
1111 LINCOLN ROAD                        1125 DUCKWOOD TRAIL                      100 3RD AVE S 3201
MIAMI BEACH LF 33139-2452                APT 112                                  MPLS MN 55401-2728
                                         EAGAN MN 55123-1134




25 PAUL DUFFY                            26 PRENDA LAW INC                        27 PAUL GODFREAD
2 N LASALLE ST                           2 N LASALLE ST                           CO BOOTH SWEET LLP
CHICAGO IL 60602-3702                    CHICAGO IL 60602-3702                    32R ESSEX STREET
                                                                                  CAMBRIDGE MA 02139-2646
            Case 15-42460
PARTIES DESIGNATED              Doc NOT
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28 PHILLIP GAINSLEY                      29 QWEST COMMUNICATIONS ET AL            30 SANDIPAN CHOWDHURY
CO BEST FLANAGAN LLP                     CO BASSFORD REMELE                       CO BOOTH SWEET
60 SOUTH SIXTH STREET                    33 S 6TH STREET SUITE 3800               32R ESSEX SUITE STUDIO 1A
SUITE 2700                               MINNEAPOLIS MN 55402-3707                CAMBRIDGE MA 02139
MINNEAPOLIS MN 55402-4452




31 SANDIPAN CHOWDHURY CO BEST            32 TCF MORTGAGE CORP                     33 TCF NATIONAL BANK
FLANAGAN                                 PO BOX 1119                              1405 XENIUM LANE NORTH
60 SOUTH SIXTH STREET                    MINNEAPOLIS MN 55472-0121                PLYMOUTH MN 55441-4402
SUITE 2700
MINNEAPOLIS MN 55402-4452




34 THOMPSON HALL SANTI CERNY    DOOLEY   35 US TRUSTEE                            36 ANTHONY SMITH
CO BEST FLANAGAN LLP                     1015 US COURTHOUSE                       CO JASON SWEET
60 SOUTH SIXTH STREET                    300 S 4TH ST                             BOOTH SWEET LLP
SUITE 2700                               MINNEAPOLIS MN 55415-3070                32R ESSEX STREET
MINNEAPOLIS MN 55402-4452                                                         CAMBRIDGE MA 02139-2646



                                                                                  DEBTOR
37 CERTAIN JOHN DOES                     38 CONSTANCE J PAIEMENT                  39 PAUL HANSMEIER
THE RUSSELL FIRM LLC                     PAIEMENT LAW OFFICE LLC                  9272 CORTLAND ALCOVE
CO ERIN K RUSSELL                        221 EAST MYRTLE STREET                   WOODBURY MN 55125-9115
230 W SUPERIOR STREET                    STILLWATER MN 55082-5040
SUITE 200
CHICAGO IL 60654-3581




40 RANDALL L SEAVER                      41 SAMUEL V CALVERT
12400 PORTLAND AVENUE SOUTH              1011 2ND ST N STE 107
SUITE 132                                ST CLOUD MN 56303-3237
BURNSVILLE MN 55337-6805
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                    UNITED STATES BANKRUPTCY COURT
                          DISTRICT OF MINNESOTA
______________________________________________________________________________
In re:
                                                              BKY No. 15-42460
Paul R. Hansmeier,                                               Chapter 7 Case

            Debtors.
______________________________________________________________________________

                         ORDER APPROVING SETTLEMENT
______________________________________________________________________________

          This case is before the court on the trustee’s motion for approval of a settlement between

the trustee, debtor and United States Trustee. Appearances, if any, were as noted upon the

record.

          Based upon the motion and the files,

          IT IS ORDERED:
          1.     The settlement agreement between the trustee, debtor and United States Trustee,
as summarized in the motion documents and as fully set forth in the exhibit attached to the
motion, is approved.
          2.     The trustee is authorized to execute any documents necessary to effectuate the
terms and agreements set forth in the settlement agreement.



Dated:                                                _____________________________
                                                      Kathleen H. Sanberg
                                                      Chief United States Bankruptcy Judge
